                                        December 15, 2022

Via CM/ECF

The Honorable Pamela K. Chen
United States District Court for the Eastern District of New York
255 Cadman Plaza East
Brooklyn, New York 11201
       Re:    United States v. Hernan Lopez, No. 15-cr-252-32 (PKC)
              United States v. Carlos Martinez, No. 15-cr-252-33 (PKC)
Dear Judge Chen,

        On December 14, 2022, Defendants Hernan Lopez and Carlos Martinez supplemented their
Rule 16 expert notice to the government with the attached declaration of Pete Devenyi, the defense’s
BlackBerry expert. This declaration, previously filed as ECF 1754-1, addresses the concerns raised
by the government at the December 2, 2022 hearing.


                                                     Respectfully,



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